977 F.2d 588w
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Gilbert DAVIS;  Susan Davis, Plaintiffs-Appellants,v.HEGAR 4 PRODUCTS, INC., et al, Defendants-Appellees.
    No. 91-35788.
    United States Court of Appeals, Ninth Circuit.
    Submitted Aug. 19, 1992.Decided Oct. 9, 1992.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION.  SEE 990 F2d 1256.
    